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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
EDP:BET                                               271 Cadman Plaza East
F. #2024R00934                                        Brooklyn, New York 11201



                                                      May 7, 2025


By E-mail and ECF

Michael K. Schneider, Esq.
Federal Defenders of New York
One Pierrepont Plaza, 16th Floor
Brooklyn, New York 11201

                Re:      United States v. Svetlana Dali
                         Criminal Docket No. 25-14 (AMD)

Dear Mr. Schneider:

              Enclosed please find supplemental discovery in accordance with Rule 16 of the
Federal Rules of Criminal Procedure. The material will be available to you via USAfx. The
government also requests reciprocal discovery from the defendant.

   I.        The Government’s Discovery

        A.      Statements of the Defendant

                •     Reports from U.S. Customs and Border Protection (“CBP”) and Port Authority
                      of New York and New Jersey (“Port Authority”) containing the defendant’s
                      statements, bearing Bates numbers SD000092- SD000096.

        B.      The Defendant’s Criminal History

                •     Defendant’s criminal history reports, bearing Bates numbers SD000097-
                      SD000135. 1




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              These reports supplement the criminal history reports that we produced in our first
production dated March 6, 2025.
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      C.     Documents and Tangible Objects

             •   Delta Air Lines, Inc. records, bearing Bates numbers SD000136-SD001338.

             •   Still images of video surveillance and layout map of Terminal 4 from John F.
                 Kennedy International Airport Terminal LLC (“JFKIAT”), bearing Bates
                 numbers SD001339-SD001346.

             •   Surveillance videos and still images received from Port Authority, bearing
                 Bates numbers SD001347-SD001371.

                                                  Very truly yours,

                                                  JOSEPH NOCELLA, JR.
                                                  United States Attorney

                                          By:      /s/ Brooke Theodora
                                                  Brooke Theodora
                                                  Assistant U.S. Attorney
                                                  (718) 254-6342

Enclosures

cc:   Clerk of the Court (AMD) (by ECF) (without enclosures)




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